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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )                     Criminal No. 19-10117
                                             )
                                             )                     LEAVE TO FILE
                 v.                          )                     GRANTED ON
                                             )                     September 12, 2019
FELICITY HUFFMAN,                            )
           Defendant                         )


                         DEFENDANT FELICITY HUFFMAN’S REPLY
                      TO GOVERNMENT’S SENTENCING MEMORANDUM

        The government’s Consolidated Sentencing Memorandum (Doc. No. 423) argues that

“[d]efendants who perpetrate frauds comparable to this one, including cheating on tests and mis-

representing academic records, are routinely sentenced to terms of incarceration.” Id. at 10. But

the cases the government cites to support that proposition are very different from this case. The

government does not describe the sentencing guidelines ranges applicable in any of the federal

cases it cites, although most of those ranges are matters of public record. The government’s omis-

sion is telling; in fact, the guidelines ranges in each of those cases was higher than Ms. Huff-

man’s—much higher in most cases. The defendants in the cases the government cites were also

typically the masterminds of the schemes—the equivalent of Rick Singer in this case. And in the

cases the government cites, individuals like Ms. Huffman—retail customers of the scheme’s ring-

leader—were often not prosecuted at all.

        By choosing cases so remarkably different than this case, the government’s Consolidated

Sentencing Memorandum in fact reinforces what defendant’s Sentencing Memorandum demon-

strates: that Judges almost always impose probationary sentences on similarly situated defendants

in cases like these.


                                                 1

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          This Memorandum quotes the government’s description of the 11 federal cases cited in its

Consolidated Sentencing Memorandum, then sets forth critical facts the government omitted about

each of those cases. Because Judges imposing sentence in these cases are all bound to follow 18

U.S.C. §3553(a), and PACER provides reliable information about the results in these cases, federal

cases provide the best source for comparative sentencing data. Official court data from state pros-

ecutions is much less readily available, but news reports and other public information shows that

the state cases the government cites are likewise readily distinguishable from the government’s

case against Ms. Huffman.

        A. FEDERAL CASES:
              Case                                  Charge(s)                       Prison Term
         United States v.        Defendant convicted of scheming to access uni-
           Barrington,           versity’s online grading system and changing          84 months
     4:08-cr-00050-WS-GRJ        grades for themselves and friends applying to
           (N.D. Fla.)1          graduate school, as well as changing residencies
                                 to non-resident students would quality for in-
                                 state tuition.


What the Government left out:

          Defendant Barrington was convicted, after trial, for leading a group who installed a

“keylogger”—a device that captures and transmits every key stroke a computer makes, on the

computers at the Registrar’s Office at Florida A&M University. United States v. Barrington, 648

F.3d 1178, 1184-87 (11th Cir. 2011). He used the device to access and falsify over 650 grades for

at least 90 students, charging at least some of the students $600 for each of the grades he changed.

Id at 1184 n.32 The jury found Barrington guilty of each count of a five-count indictment charging


1
    See government’s Consolidated Sentencing Memorandum at 10.
2
 See also WCTC.tv, FAMU Student Sentenced To 84 Months In Prison In Computer Intrusion, Grade
Changing Scam (Sep. 22, 2009 (quoting United States Attorney’s Office Press Release)),
https://www.wctv.tv/home/headlines/60273627.html
                                                 2

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him with conspiracy to commit wire fraud using a protected computer in violation of 18 U.S.C. §§

371 and 1349; fraud using a protected computer in violation of 18 U.S.C. §§ 1030(a)(4) and

(c)(3)(A) and 2; and three counts of aggravated identity theft in violation of 18 U.S.C. §§ 1028A

and 2. Id. at 1183. The Court of Appeals concluded that the defendant’s “84-month sentence was

within the advisory Guidelines range as to Counts 1 and 2, and statutorily mandated as to Counts

3, 4, and 5.” Id., n.1. Defense counsel has found nothing in the public record suggesting that the

government prosecuted any of Barrington’s customers.

               Case                                  Charge(s)                        Prison Term
         United States vs.        El Paso School District Superintendent pleaded
         Lorenzo Garcia,          guilty to directing staff to “change passing         42 months
       3:11-cr-01830-DB-1         grades to failing grades in an effort to prevent
           (W.D. Tex.)3           qualified students from taking the 10th grade
                                  [Texas Assessment of Knowledge and Skills
                                  Test].”


What the Government left out:

          In United States v. Garcia, 3:11-cr-01830 (W.D. Tex.), the defendant, a former school su-

perintendent, submitted false information to the district in order to steer a lucrative contract to a

vendor owned by a woman with whom he had a relationship. (Doc. No. 3). In order to bypass

ordinary school district contracting procedures and eliminate competition, the defendant conspired

with the vendor to submit a false affidavit claiming it was the “sole source” of educational services

provided. Id. He pleaded guilty to conspiracy to commit mail fraud. Because of enhancements for

sophisticated means, status as organizer and leader of the fraud, and abuse of a position of trust,

the resulting guidelines range was 78-97 months. Id. (Doc. No. 114).




3
    See government’s Consolidated Sentencing Memorandum at 11.
                                                  3

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         The defendant also pleaded guilty to an information filed in a separate matter, charging

that he manipulated school testing data and statistics in order to obtain performance bonuses tied

to compliance with federal funding requirements. See United States v. Garcia, 3:12-cr-1362 (Doc.

No. 1). Garcia manipulated information concerning the demographic makeup and grade classifi-

cation of his district, which had a large population of foreign students with limited English profi-

ciency. The fraudulent scheme involved denying foreign students properly earned credits and dis-

couraging other students from enrolling in school. The guidelines range in the second cases was

235-293 months. United States v. Garcia, 3:11-cr-01830 (W.D. Tex.)(Doc. No. 114). The court

sentenced Garcia to a below guidelines sentence: 42 months’ imprisonment, to be served concur-

rently on the two cases. Id.

               Case                                   Charge(s)                         Prison Term
         United States v.         Reverend who founded program to help minority
       Ozell Clifford Brazil,     students get into college convicted of mail fraud      41 months
       CR-02-00882-SVW            for advising students to fraudulently claim on
           (C.D. Cal.)4           scholarship forms that “they were orphans or
                                  came from broken homes.”


What the Government left out:
         Brazil was convicted, after trial, of seven counts of mail fraud and seven counts of federal

student financial assistance fraud. CR-02-00882-SVW (C.D. Cal.)(Doc. No. 72). The indictment

charged that Brazil assisted college students and prospective college students in submitting finan-

cial aid applications to the Department of Education that falsely claimed the students were orphans

or wards of the court, misrepresented family income, and concealed the parents’ true income and

assets. Brazil also provided students with letters to college financial aid personnel that falsely rep-

resented that the students did not get financial support from their parents. Id. (Doc. No 129). The


4
    See government’s Consolidated Sentencing Memorandum at 11.

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public record does not disclose the guidelines range, but it was clearly much higher than 0 to 6

months. Brazil’s fraud was extensive: according to a Department of Education press release issued

after sentencing, the government “identified approximately 400 students who went through

Brazil's program. Those individuals received well over $10 million in financial aid. Investigators

obtained detailed information from 22 students, who received $716,179 in grants and $382,393 in

loans.”5 The Judge imposed a 41-month sentence. CR-02-00882-SVW(C.D. Cal.)(Doc. No. 72).

The government did not prosecute the students.6 Nothing in the public record suggests that any of

the students’ parents were prosecuted.

                Case                                 Charge(s)                           Prison Term
           United States v.       Beaumont School District Superintendent
      Patricia Adams Lambert,     pleaded guilty to “directly or indirectly en-           40 months
           1:15-cr-00004          courag[ing] teachers and staff to manipulate stu-
             (E.D. Tx.)7          dents’ standardized tests scores or had
                                  knowledge that cheating occurred.”


What the government left out:

          In United States v. Lambert, 1:15-cr-00004 (E.D. Tex.) the defendant, an Assistant Super-

intendent, orchestrated a sophisticated scheme to defraud her school district. Id. (Doc. No. 2). She

diverted and stole money from school booster clubs and awarded vendor contracts to companies

owned by family members who would mark up goods and services by as much as 300%. Id. The

defendant also ordered teachers to correct students’ answers on standardized testing to boost scores

and secure federal funding. Id. She pleaded guilty to defrauding a federal program and conspiracy


5
 See Student Aid Scam Results in Three Years' Prison for LA Minister, U.S. Department of Education, In-
vestigative Reports (Oct. 21,2013) ,https://www2.ed.gov/about/offices/list/oig/invtreports/ca102003.html
6
    Id.

7
    See government’s Consolidated Sentencing Memorandum at 11.

                                                   5

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to defraud the government. Id. The guidelines range calculation does not appear in the docket, but

the parties stipulated to enhancements for sophisticated means, abuse of a position of trust, and a

loss amount of $500,000 (Doc. Nos. 63, 100), so they must have been at least 33 to 41 months.8

The Court imposed a 40-month sentence. Id. (Doc. 109).

                 Case                                   Charge(s)                     Prison Term
            United States v.       Barton County Community College coaches and          Ranging
      Lance Brauman, Neil El-      athletic director convicted of mail and wire fraud   from 12
      liott, Ryan Cross & Lyles    for taking online classes for student-athletes to months and
                Lashley,           make it appear as if the students were eligible to one day to 12
        6:05-cr-10197-MLB &        earn junior colleges degrees.                       weekends
       6:05-cr-10232-34-MLB
               (D. Kan.)9



           What the government left out:
           These related cases concern a scheme by college coaches and an athletic director who ar-

ranged to have athletes obtain admission or academic credit by purporting taking correspondence

course; in fact, the work would be done by others. See United States v. Cross, 05-cr-10232 (D.

Kan.) (Doc. No 1).10 Brauman was sentenced to one year and one day following trial. While the

guidelines calculation does not appear on the docket for defendants Brauman, see 05-cr-10234

(D.Kan.) or Elliott, see 05-cr-10233 (D. Kan.); the docket reveals that for defendant Cross (who




8
  The math is as follows: BOL=7, plus 2 (abuse of position of trust), plus 2 (sophisticated means) plus 12
(loss amount), minus 3 (acceptance of responsibility) equals an adjusted offense level of 20.
9
 See government’s Consolidated Sentencing Memorandum at 12. NOTE: The version of this Memorandum
attached to the Motion for Leave to File inadvertently switched the descriptions of the Brauman and Cross
cases. This Memorandum corrects that error. The version filed with the Motion for Leave also stated that
the docket revealed no guidelines range for United States v. Lashley, 05-10197 (D. Kan.). The docket in
fact shows that his guidelines range was 41-51 months. Id. (Doc. No. 23). He was sentenced, following a
motion for a substantial assistance departure, to three years’ probation, including 12 weekends in jail. Id.

10
     See also https://www.espn.com/college-sports/news/story?id=2611020
                                                     6

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was not alleged to have been a leader of the scheme), the Probation Department calculated the

range as 18 to 24 months. United States v. Cross, 05-cr-10232 (D. Kan.) (Doc. No 17).

        In addition, the government fails to mention that three other coaches, part of the same

scheme, received sentences of probation. See United States v. Wolf, 6:04-cr-10257 (D. Kan.);

United States v. Skillman, 6:05-cr-10060 (D. Kan.); United States v. Campbell, 6:05-cr-10087

(D. Kan.). In Wolf, the government moved for a substantial assistance departure. But no such

motion was filed in the Skillman or Campbell cases. Nothing in the public record indicates that

the government prosecuted any of the athletes involved in the scheme (or their parents).

             Case                                    Charge(s)                       Prison Term
       United States v.         Mother, who was a counselor at her children’s
      Mellissa Krystynak,       school, pleaded guilty to changing 34 of her          6 months
        5:18-cr-00196           daughter’s grades, which her daughter then used
        (S.D.W. Va.)            to apply to college.



        What the government left out:
        In United States v. Krystynak, 5:18-cr-00196 (W.D. Va.), a high school counselor, used her

position and access to the school’s electronic grading program to change her daughters’ grades at

least 34 times. Id. (Doc. No. 45). The falsely inflated grades were transmitted to colleges and

universities. Id. One of the defendant’s daughters was accepted to a school and received $10,000

in merit-based scholarships. The defendant pleaded guilty to mail fraud. Based in part on an en-

hancement for abuse of trust, the guidelines range was 8-14 months. Id. The Court imposed a

below guidelines sentence: six months’ imprisonment. Id. (Doc. No. 50).




                                                 7

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               Case                                  Charge(s)                         Prison Term
          United States v.
          Joseph Fonge,           Father pleaded guilty to wire fraud for falsifying    4 months
       1:14-cr-10194-WGY          financial aid applications so that his daughter
           (D. Mass.)11           could attend a university.



          What the government left out:
          The government charged the defendant with falsifying financial aid applications and

thereby obtaining more than $170,000 in financial aid from Harvard over three years. United States

v. Fonge, 14-cr-10194-WGY (D. Mass.) (Doc. No. 1). The Court adopted the Probation Depart-

ment’s guidelines calculation, which established the guidelines range as 8 to 14 months. Id. (Doc.

Nos. 15). Judge Young imposed a below guidelines sentence: four months.

               Case                                  Charge(s)                         Prison Term
          United States v.        Aspiring medical student attempted to hack into       3 months,
           Bosung Shim,           multiple computer systems, including the Asso-          plus 7
       1:13-cr-00367-TSE-1        ciation of American Medical Colleges system, in      months in a
            (E.D. Va.)            order to change his Medical College Admission          halfway
                                  Test scores.                                            house


        What the government left out:
        The defendant, intending to change his medical school test score, hired hackers to launch a

distributed denial of service attack again the Association of American Medical Colleges system,

and, thereafter, to repeatedly gain access the Association’s computers, causing $31,653.24 of dam-

age to those computers. Id. (Doc. Nos. 2, 7). The PSR calculated the guidelines range as 10 to 16

months. Id. (Doc. No. 14). The Court imposed a sentence at the low end of the guidelines range:

three months’ imprisonment, followed by seven months’ community confinement. Id. (Doc. No.

16).



11
     See government’s Consolidated Sentencing Memorandum at 12.
                                                  8

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           B. STATE CASES

       The government’s Consolidated Memorandum also cites several state prosecutions. None are

comparable, and the government’s descriptions of those cases fails to mention significant infor-

mation facts that undermine its position.

            For example, the Consolidated Memorandum cites the sentences imposed on nine defend-

ants in the widely publicized Atlanta school system cheating scandal. 12 Each was prosecuted and

convicted for violating Georgia’s RICO statute following the longest trial in Georgia’s history.13

The defendants the government identifies each participated (and some led) a scheme, ongoing for

at least seven years, to boost standardized test scores for Atlanta high school students—scores that

were tied to the defendants’ obtaining tenure and performance bonuses.14 The scheme was far-

reaching: an independent investigation ordered by Georgia’s governor resulted in an 800-page

report implicating 178 teachers and principals, including 82 who confessed to cheating. 15 State

prosecutors indicted 35 defendants. The government correctly describes the sentences imposed on

the nine defendants its listed in its Consolidated Sentencing Memorandum—all convicted after

trial. But the government fails to inform the Court that most of the 35 defendants who accepted


12
  See government’s Consolidated Sentencing Memorandum at 14-15, describing sentences imposed on
Sharon Davis-Williams; Tamara Cotman; Michael Pitts; Angela Williamson; Tabeeka Jordan; Shani Rob-
inson; Diane Buckner-Webb; Dana Evans; Donald Bullock.
13
  See Rhonda Cook & Ty Tagami, Judge Reduces Sentences for 3 Educators in Atlanta Cheating Scan-
dal, Governing (May 1, 2015), https://www.governing.com/topics/education/tns-atlanta-cheating-resen-
tencing.html
14
   Michael Winerip, Ex-Schools Chief in Atlanta is Indicted in Testing Scandal, New York Times, March
29, 2013, https://www.nytimes.com/2013/03/30/us/former-school-chief-in-atlanta-indicted-in-cheating-
scandal.html; Alan Blinder, Atlanta Educators Convicted in School Cheating Scandal, New York Times,
April 1, 2015, https://www.nytimes.com/2015/04/02/us/verdict-reached-in-atlanta-school-testing-
trial.html
15
     Id.

                                                  9

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responsibility and pleaded guilty were sentence to probation, community service, and ordered to

repay the bonuses they received.16

          In three of the state cases the government cites, the defendants were sentenced to prison

terms after they broke into schools, installed spyware on computers, then accessed those computers

to change grades—either their own, or others:

          •    In California v. Lai (Orange County Sup. Ct)17, the defendant was sentenced to a one-
               year prison term after he pleaded guilty to 20 felony counts of computer access and
               fraud and one felony count of second-degree commercial burglary. Lai, a tutor, broke
               into the high school and installed a keystroke recording device on a teacher’s computer.
               Lai then hacked into the school’s grading program to change grades. When he learned
               he was under investigation, Lai fled to South Korea and destroyed evidence. 18 Defense
               counsel has located nothing in the public recording suggesting that any of his student
               customers, or their parents, were charged.
          •    In Indiana v. Sun, 79D02-1304-FC-18 (Tippecanoe Sup. Ct. 2018), the Court sentenced
               the defendant to 90 days’ imprisonment following his guilty plea to felony conspiracy
               to commit computer tampering and felony computer tampering. See Sun v. State, 2016
               Ind. App. Unpub. LEXIS 801. Sun broke into his professors’ offices, planted a key-
               stroke recording device, and used the devise to change his grades.19
          •    In California v. Khan (Orange County Superior Ct.), the defendant was sentenced to
               30 days after he broke into his school on multiple occasions, installed spyware on the



16
  Associated Press, 6 more former Atlanta Public Schools employees plead guilty in test-cheating scan-
dal, Fox News Channel (Jan. 6. 2014), https://www.foxnews.com/us/6-more-former-atlanta-public-
schools-employees-plead-guilty-in-test-cheating-scandal
17
     See government’s Consolidated Sentencing Memorandum at 12.

18
   Matt Coker, Timothy Lance Lai Gets Year in Jail for Massive Corona Del Mar High School Cheating
Scandal, OC Weekly, https://ocweekly.com/timothy-lance-lai-gets-year-injail-for-massive-corona-del-
mar-high-school-cheating-scandal-6463442/; Hannah Fry, Tutor Pleads Guilty in Corona del Mar High
Cheating Scandal; Gets 1 Year in Jail, https://www.latimes.com/social/daily-pilot/news/tn-dpt-me-0805-
lai-2-150804-story.html.
19
  See Ron Wilkins, Gradealtering Scheme Sends exPurdue Student to Jail, Journal & Courier (Feb.
28, 2014); https://www.jconline.com/story/news/crime/2014/02/27/gradealtering-scheme-sends-ex-pur-
due-student-to-jail-/5875821/

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              computers of teachers and administrators, and used the passwords he obtained in the
              process to change grades and test scores.20

       Finally, the government cites Connecticut v. McDowell, S20N-CR11-0128770 (Norwalk Sup.

Ct.), which it describes as involving a “homeless mother [who] pleaded guilty to fraudulently

claiming her babysitter’s address as her own so her child could attend school in a different dis-

trict.”21 The government neglects to mention, however, that these charges were consolidated for

sentencing with defendant’s conviction for distributing crack cocaine to undercover officers (in-

cluding, on one occasion, at her son’s sixth birthday party). 22 And most notably, the government

omits mention of the defendant’s criminal history, which includes prior convictions, in separate

incidents, for bank robbery and firearms possession. Id.

         C. CONCLUSION
         Stated simply, a review of the cases cited by the government in its Consolidated Sentencing

Memorandum show that those cases are very different than this one. Those cases do not support

the government’s contention that “[d]efendants who perpetrate frauds comparable to this one, in-

cluding cheating on tests and misrepresenting academic records, are routinely sentenced to terms




20
  Peter Schelden, Former Tesora Student Sentenced for Stealing Tests, Changing Grades, Patch (Aug. 6,
2011), https://patch.com/california/missionviejo/former-tesoro-student-sentenced-for-test-stealing-
gra2b1af820cd
21
     See government’s Consolidated Sentencing Memorandum at 11
22
   See John Nickerson, Affidavit: Tanya McDowell offered to sell drugs, pimp out prostitutes to under-
cover cops, Stamford Advocate (June 14, 2011), https://www.stamfordadvocate.com/news/article/Affida-
vit-Tanya-McDowell-offered-to-sell-drugs-1421618.php; see also Ta-Nehisi Coates, Woman Sentenced to
Twelve Years for Drug Dealing, 'Stealing Education,' The Atlantic (Feb. 7. 2012), https://www.theatlan-
tic.com/national/archive/2012/02/woman-sentenced-to-twelve-years-for-drug-dealing-stealing-educa-
tion/253742.

                                                  11

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of incarceration.” Id. at 10. Ms. Huffman respectfully requests that the Court reject the govern-

ment’s invitation to compare apples to oranges.




                                                       Respectfully submitted,

                                                       FELICITY HUFFMAN
                                                       By her attorneys,


                                                       /s/ Martin F. Murphy ___________________
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DATED: September 12, 2019




                                 CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the CM/ECF system will be sent electron-
ically to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on this 12th day of September
2019.
                                                         Martin F. Murphy______
                                                         Martin F. Murphy




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